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    MAS1 LOAN        245     MSP LOAN MASTER MAINT. & DISPLAY      11/12/14    10:23:43
         NAME WJ YBARZABA    TYPE 13 1ST MTG,CONVEN W/O INS                   GROUP
    -- INV1 -- INVESTOR, SERVICE FEES----------------------------------------------
    INV CAT I           O SALE/REPURCH --- FNMA LASER --- FNMA DEL
    A07 739                 FLAG DATE    CD    DATE CHANGED     STATUS
                             S   051310 __ ______              0 (0-9)
    INV FREDDIE MAC                         (MMDDYY)          SSRI ___
    HDR 8200 JONES BRANCH DRIVE      GUAR FEE    ----SERVICE FEE----
        MS/387                         RATE      % RATE OR $ AMOUNT
        MCLEAN, VA 22102-3110        00.00000 %    .250000       0.00
        ARC                                         FRC   SC ACC CD INT IN ADV BAL
                                                    ___      __                  .00
     CONTRACT/POOL NO    INV SCHED DEF INT    INV ACT DEF INT    INV SCHED PRIN BAL
     1005130060          __________________ __________________           218,776.72
    ---THIRD PARTY SERVICE FEES---     FHLMC    ------EXCESS SERVICE FEES-----
    CORRESPONDENT PLAN 1ST REMIT       INACT    ORIG SERV FEE:       ___________
        CODE       CODE     DATE         I      UNAMORT SERV FEE:     ___________
        ___        ___      ____        GSE R ORIGINAL TERM:         ___
                           (MMYY)      HN _ _ REMAINING TERM:        ___
    CORR/PLAN:                              OPTION: _     DOC CUST: __________
    ---------------------------------------------------------(PF15: OWNER/ASSIGNEE)
    ACTIVE CH 7 BANKRUPTCY                  408 DAYS PAST PROJECTED LEGAL DATE




                                            %% 7&RQILGHQWLDO
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    DLQ1               ____ QX   D E L I N Q U E N C Y OWNR n/a 11/12/14 10:23:46
    13   CONV. RES.         PER/CLS/OFF B/00/00 AGE: 4Y 8M IR: 5.87500 INV: A07
    DUE( 18)    33,188.11 DUE 06/01/13( 16)(09/09R) ASSUM:          ACQ:
    LATE CHRG      288.80 PAYMT      @   1,834.61 P: 200 OAK ISLAND DR
    BAD CK FEES     25.00 L/C AMT           64.77    MANDEVILLE LA 70448
    OTHER FEES     161.60 PAYMT + LC     1,899.38 M:
    TOT DUE     33,663.51* PRIN BAL    209,937.20
    SUSPENSE          .00 P&I            1,295.47    200 OAK ISLAND DR
    NET DUE     33,663.51 DLQ 8 TIME,PAY 26 DAY      MANDEVILLE LA 70448
    C/S 518   WADE JOSEPH YBARZABAL        CU CELL UNDETRMNED 504-577-1843
    C/D 10/14 LOUIS LEHR JR                                   985-626-1209
     *PHONE NO*
    -IMD:N--------------------- * ADDITIONAL MESSAGES * -----------------WU: _ ----
    ACTIVE CH 7 BANKRUPTCY                 CASHIER STOP 4
    SUSPENDED FORECLOSURE                  PROC STOP = B BANKRUPTCY
    ----~DUEI----------------------* PAYMENTS DUE *--------------------------------
    REA/DUE DTE        06/01/13 ESCROW 05/01/14
    # DUE/PYM ( 11)    1,834.61 ( 7)    1,858.20
    L/C AMOUNT            64.77            64.77
    PAYMT + L/C        1,899.38         1,922.97
    PYMT AMTS DUE     20,180.71        13,007.40
            # DUE     TOTAL DUE        PAYMENTS   LATE CHRGS   NSF FEES     OTHER
      TOTAL:   18     33,663.51 *     33,188.11       288.80      25.00    161.60




                                            %% 7&RQILGHQWLDO
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    PAY4        2245   AS-OF 11/13/14 PAYOFF CALCULATION TOTALS 11/12/14 10:24:07
    NAME WJ YBARZABA CONTACT NAME WADE JOSEPH YBARZABAL
    -------------------------------------------------------------------------------
    PRINCIPAL BALANCE        209,937.20        ----------- RATE CHANGES ----------
    INTEREST 11/13/14         18,906.26 CALC INT FROM       RATE         AMOUNT
    PRO RATA MIP/PMI                .00        05/01/13    5.87500      18,906.26
    ESCROW ADVANCE             5,918.47        11/13/14
    ESCROW BALANCE                  .00
    SUSPENSE BALANCE                .00
    HUD BALANCE                     .00
    REPLACEMENT RESERVE             .00
    RESTRICTED ESCROW               .00
    TOTAL-FEES                      .00 W 3
    ACCUM LATE CHARGES           288.80
    ACCUM NSF CHARGES             25.00
    OTHER FEES DUE               161.60
    PENALTY INTEREST                .00
    FLAT/OTHER PENALTY FEE          .00        TOTAL INTEREST           18,906.26
    CR LIFE/ORIG FEE RBATE          .00        TOTAL TO PAYOFF         240,537.53
    RECOVERABLE BALANCE        5,300.20 NUMBER OF COPIES: 1     PRESS PF1 TO PRINT


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